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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No.
                v.                            :
                                              :       Filed Under Seal
JOSEPH TAMJONG,                               :
                                              :
                Defendant.                    :

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

   I.         IDENTITY OF THE AFFIANT

   I, Kathleen Graham, being duly sworn, state:

         1.     I am a Special Agent of the Federal Bureau of Investigation (“FBI”). From February

2020 to the present, I have been assigned to a white-collar crime squad at the FBI’s Washington

Field Office in the District of Columbia, specifically focused on the investigation of health care

fraud and other health care crimes. I have received training in general law enforcement and

criminal investigations, and I have attended training programs focused on health care crimes. I

have investigated allegations of health care fraud, false statements, identity theft, mail fraud, and

wire fraud.

         2.     I am assigned to this investigation and my involvement has included, but is not

limited to, interviewing witnesses, reviewing Medicaid billing claims and medical records

associated with Medicaid recipients, as well as conducting surveillance.

   II.        REASON FOR AFFIDAVIT

         3.     This affidavit is made in support of a criminal complaint and arrest warrant

charging JOSEPH TAMJONG (“TAMJONG”) with violations of 18 U.S.C. § 1347 (Health Care

Fraud) and 18 U.S.C. § 1035 (Health Care False Statements).




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       4.       TAMJONG currently resides in Lanham, Maryland. Since approximately

December 2014 through the present, TAMJONG has been employed as a Personal Care Aid

(“PCA”) and/or a Participant-Directed Worker (“PDW”) to provide personal care services to

residents of the District of Columbia who receive Medicaid (“Medicaid beneficiaries”). A

government investigation has shown that TAMJONG has caused false claims to be submitted to

Medicaid. The claims can be broadly categorized as follows: (1) claims purporting that

TAMJONG provided services in excess of sixteen (16) hours in a given day; (2) claims purporting

that TAMJONG provided services to multiple beneficiaries in overlapping hours; (3) claims

purporting that TAMJONG provided services to Medicaid beneficiaries to whom he provided no

care at all; and (4) claims purporting that TAMJONG provided services to Medicaid beneficiaries

while he was traveling outside the country.

       5.       Based on a review of Medicaid billing claims for a period of approximately 87

months, between about December 2014 through about February 2022, Medicaid issued payments

totaling approximately $733,405 for 143,954 units (or 35,988.50 hours) of personal care services

that TAMJONG purportedly provided as a PCA or PDW for up to 17 beneficiaries.

       6.       The facts and information contained in this affidavit are based on my personal

knowledge of the investigation, the observations and reports of other law enforcement officers,

and evidence gathered during the investigation. This affidavit does not include every fact and

matter observed by me or known to the government relating to the subject matter of this

investigation. Instead, this affidavit contains only those facts necessary to establish that probable

cause exists.




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   III.         OVERVIEW OF THE DISTRICT OF COLUMBIA MEDICAID PROGRAM
                AND PERSONAL CARE SERVICES

          7.      Medicaid is a health insurance program established by Congress under Title XIX

of the Social Security Act of 1965. Medicaid provides health insurance coverage to residents of

the District of Columbia whose incomes are below a certain financial threshold as measured

against the poverty line. The federal government provides funding for 70 to 80 percent of

Medicaid; the District of Columbia provides the remaining funds. Since October 1, 2008, D.C.’s

Medicaid program has been administered by the D.C. Department of Health Care Finance

(“DHCF”).

          8.      Personal care aide (“PCA”) services are intended to assist Medicaid beneficiaries

with performing activities of daily living, known as “ADLs.” ADLs include the ability to get in

and out of bed, bathe, dress, eat, and engage in toileting.

          9.      A Medicaid beneficiary seeking PCA services for the first time must submit a

request for a PCA Service Authorization to DHCF and accompany the request with a physician or

Advanced Practice Registered Nurse’s written order for such services. If DHCF then determines,

during a face-to-face assessment with the beneficiary, that the beneficiary needs assistance with

ADLs, DHCF issues a PCA Service Authorization that specifies the amount, duration, and scope

of PCA services authorized to be provided to the beneficiary.

          10.     Historically, home health agencies (“HHAs”) registered to do business in the

District of Columbia have provided personal care services to eligible Medicaid beneficiaries.

HHAs employ PCAs to provide such services, typically in a beneficiary’s home. Under the

Medicaid rules, a PCA must meet certain qualifications, including: (a) obtaining or having a home

health aide certification; (b) providing evidence of obtaining certification in cardiopulmonary




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resuscitation (“CPR”) and first aid; (c) demonstrating that the PCA is free from communicable

disease; and (d) passing a criminal background check.

       11.     Each PCA is issued a unique, ten-digit National Provider Index (“NPI”) number,

which an HHA uses to bill Medicaid for services rendered to a beneficiary. PCAs must document

the provided care on a timesheet that is submitted to the HHA. The timesheet is supposed to reflect

accurately the date the PCA provided services, the itemized services rendered, and the amount of

time spent providing services. Timesheets are supposed to be signed each day by both the

beneficiary and the PCA after all work is completed. However, a single timesheet can contain a

full week of services.

       12.     In 2016, the D.C. Department of Health Care Finance established an additional way

that Medicaid beneficiaries can receive personal care services. The Services My Way (“SMW”)

program allows eligible Medicaid beneficiaries to become the common law employer to a

“participant-directed worker,” who is employed by the beneficiary to provide PCA services to the

beneficiary. To be eligible for such services, a beneficiary must be in receipt of a service

authorization for personal care aide services from DHCF or its agent specifying the amount,

duration, and scope of services authorized to be provided to the beneficiary.

       13.     As of February 2021, the Service My Way program had over 1,100

participants/beneficiaries. All PDWs must: (1) be at least 18 years of age; (2) pass a criminal

background check; (3) receive customized training provided by the Medicaid beneficiary or the

beneficiary’s authorized representative that is related to the beneficiary’s functional needs as

outlined in the Person-Centered Service Plan (“PCSP”); (4) be able and willing to perform the

service-related responsibilities set forth in the PCSP; and (5) be certified in CPR and First Aid

through an in-person training course.




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        14.     Consumer Direct Care Network District of Columbia is the vendor that supports

Services My Way participants with things like processing employee timesheets, withholding

payroll taxes, processing payroll, and submitting claims to Medicaid. Consumer Direct DC paper

timesheets include areas to fill in the following information:

                •    PDW Name and Employee ID Number;
                •    Participant/Beneficiary Name and ID Number;
                •    Service Date, Time In, Time Out, Tasks Completed.
                •    PDW Signature
                •    Participant/Beneficiary Signature

Next to the signature section, the timesheets contain the following printed language: “I certify that

the hours, services, and tasks indicated above were provided to the Participant by the PDW as

recorded. The Participant was not in a hospital, nursing home, or institution. False information or

misrepresentation constitutes Medicaid Fraud and may result in dismissal from the program

and/or criminal prosecution.” (Emphasis added.) 1

        15.     As outlined in Section 6.3 (“Interrelationship of Providers”) of the D.C. Medicaid

MMIS Provider Billing Manual, “Providers are prohibited from referring or soliciting beneficiaries

directly or indirectly to other providers for financial consideration. Providers are also prohibited

from soliciting, receiving, or offering kickbacks; payments, gifts, bribes, or rebates for purchasing,

leasing, ordering, arranging for, recommending purchasing, leasing; ordering for goods, facilities,

or items for which payment is made through the D.C. Medicaid Program.”



1
  In December 2016, Congress passed the 21st Century Cures Act requiring state Medicaid programs to
implement an electronic visit verification (“EVV”) system for some home services, including personal care
services. The Act requires that an EVV system capture six data elements: member receiving the services,
caregiver providing the service, type of service, location of the service delivery, date of the service, and
time the service begins and ends. The Act required all state Medicaid programs to implement an EVV
system to verify personal care services by January 1, 2020, but the Department of Health and Human
Services has allowed for some flexibility with the deadline if states showed good faith efforts at compliance.
In October 2021, DHCF indicated that it would deny all PCA service claims with dates of service on or
after December 1, 2021, that cannot be matched with corresponding EVV information.


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          16.     HHAs and Consumer Direct DC have used timesheets to determine and justify the

services for which HHAs and Consumer Direct DC file reimbursement claims with Medicaid. 2

Those claims must provide certain information, such as the name of the Medicaid beneficiary, the

date of service, the type of service, the amount of time a service was provided, and the amount of

money being sought by the HHA or Consumer Direct DC as payment from Medicaid. Medicaid

only pays for services that are medically reasonable and necessary, and that are actually provided

as claimed.

    IV.         FACTS SUPPORTING PROBABLE CAUSE

          17.     As noted above, TAMJONG defrauded the Medicaid program by submitting or

causing to be submitted timesheets to HHAs and Consumer Direct DC for personal care aide

services that he did not provide. The HHAs and Consumer Direct DC subsequently sought and

received payments from D.C. Medicaid based on the fraudulent timesheets, and in turn paid

TAMJONG.

          18.     During the course of the investigation, law enforcement obtained, inter alia,

TAMJONG’s payroll records, HHA employment records, patient files, and D.C. Medicaid billing

claims associated with PCA services that TAMJONG purportedly provided. Law enforcement also

interviewed witnesses and conducted surveillance on TAMJONG during hours that he purported

to provide PCA services.




2
 Effective February 13, 2022, Consumer Direct DC generally will no longer accept paper timesheets for
PDW services. Instead, the services are documented through Consumer Direct’s Electronic Visit
Verification program, which involves the PDW entering dates and times of provided services in the EVV
program, and the beneficiary/participant making an entry verifying that the PDW provided the services. If
an EVV entry cannot be created, Consumer Direct will accept a paper timesheet. Although the EVV system
does not contain an explicit statement that the PDW is certifying that the services were provided under
penalty of law (such as the statement that appears on Consumer Direct’s paper timesheets), each PDW and
beneficiary/participant must sign an Agreement that references penalties for submitting false information.

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          19.     TAMJONG’s fraudulent claims are too numerous to recite in this Affidavit.

However, for purposes of establishing probable cause, the exemplars set forth below demonstrate,

but are not exhaustive of, the fraud TAMJONG committed against D.C. Medicaid.

                  A.      BILLING FOR SERVICES WHILE TRAVELING OUTSIDE
                          THE COUNTRY

          20.     The investigation revealed that TAMJONG caused Medicaid to pay approximately

$70,100 for 13,652 units (3,413 hours) of personal care aide services that he purported to provide

to six beneficiaries between 2016 and 2022 when he actually was traveling outside the District of

Columbia.

          21.     On April 10, 2016, TAMJONG departed the United States on a flight from Dulles

International Airport (IAD) to Brussels Airport in Belgium. He returned to the United States on a

May 10, 2016 flight from Brussels Airport to IAD. For that one-month period, TAMJONG’s

fraudulent timesheets, wherein he purported to provide PCA services while he was out of the

country, resulted in three separate HHAs (HHA-1, HHA-2, and HHA-3) billing Medicaid for PCA

services that TAMJONG claimed he provided to participants/beneficiaries B1, B5, and B4. 3 As a

result, Medicaid ended up issuing payments totaling $9,959.68 to HHA-1, HHA-2, and HHA-3 for

1,984 units (496 hours) of PCA services that were not provided.

          22.     On December 03, 2016, TAMJONG departed the United States on a flight from

IAD to Brussels Airport. He returned to the United States on a February 28, 2017 flight from

Brussels Airport to IAD. TAMJONG’s fraudulent timesheets for that 88-day period showed him

once again purporting to provide PCA services when he was not in the country. As a result, three

HHAs (HHA-1, HHA-3, and HHA-6) billed Medicaid for PCA services that TAMJONG claimed




3
    I have reviewed timesheets for B1 and B4. The government does not have timesheets for B5.

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he provided to B1, B4, and B9. 4 Medicaid issued payments totaling $18,825.76 to the three HHAs

for a total of 3,736 units (934 hours) of PCA services that TAMJONG did not provide.

          23.     On July 14, 2017, TAMJONG departed the United States on a flight from IAD to

Brussels Airport. He returned to the United States on an August 19, 2017 flight from Istanbul,

Turkey to IAD. TAMJONG’s fraudulent timesheets for that 37-day period showed him providing

PCA services to B4 and B1 on behalf of HHA-3 and HHA-1. Medicaid issued payments totaling

$7,756.80 to HHA-3 and HHA-1 for a total of 1,536 units (384 hours) of services that TAMJONG

did not provide.

          24.     On July 9, 2018, TAMJONG departed the United States on a flight from IAD to

Brussels. He returned on an August 14, 2018 flight from Brussels to IAD. TAMJONG’s fraudulent

timesheets for that 37-day period showed him providing PCA services to B4 and B2 on behalf of

HHA-3 and HHA-2. Medicaid issued payments totaling approximately $4,975 to the HHAs for a

total of 968 units (242 hours) of PCA services that TAMJONG did not provide.

          25.     On February 6, 2019, TAMJONG flew from IAD to Atlanta, Georgia. On February

7, 2019, he left the United States on a flight from Atlanta to Paris, France. He returned to the

United States on a February 14, 2019 flight from Paris to IAD. TAMJONG’s fraudulent timesheets

for that nine-day period showed him providing PCA services to B4, B1, and B2 on behalf of

HHA-3, HHA-1, and HHA-2. Medicaid issued payments totaling $2,730 to the HHAs for a total

of 520 units (130 hours) of PCA services that TAMJONG falsely claimed to provide.

          26.     On September 26, 2019, TAMJONG flew from IAD to Brussels. He returned to the

United States on an October 25, 2019 flight from Brussels to IAD. TAMJONG’s fraudulent

timesheets for that 29-day period showed him providing PCA services to B2 and B4 on behalf of




4
    I have reviewed timesheets for B1 and B4. The government does not have timesheets for B9.

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HHA-2 and HHA-3. Medicaid issued payments totaling $3,966.48 to the HHAs for a total of 752

units (188 hours) of PCA services that TAMJONG falsely claimed to provide.

       27.    On May 4, 2021, TAMJONG traveled from IAD to Addis Ababa Bole International

Airport in Ethiopia. He returned to the United States on a June 12, 2021, flight from Dublin,

Ireland, to IAD. TAMJONG’s fraudulent timesheets for that 40-day period showed him providing

personal care aid services as a PDW for B2 and B3 in connection with the Services My Way

program. Consumer Direct DC caused Medicaid to be billed for 2,720 units (680 hours) of services

that TAMJONG purportedly provided. As a result, Medicaid issued payments totaling

approximately $14,315.

       28.    On December 16, 2021, TAMJONG traveled from IAD to Cairo, Egypt. On

January 15, 2022, TAMJONG returned to the United States on a flight from Cairo to IAD.

TAMJONG’s fraudulent timesheets for that 31-day period showed him once again purporting to

provide personal care aide services as a PDW for B2 and B3 in connection with the Services My

Way program. Consumer Direct DC caused Medicaid to be billed for 1436 units (359 hours) of

services that TAMJONG purportedly provided. As a result, Medicaid issued payments totaling

approximately $7,571.

              B.      BILLING EXCEEDING 16 HOURS IN A GIVEN DAY AND
                      OVERLAPPING HOURS OF CARE

       29.    A review of D.C. Medicaid claims data revealed that there were 742 days between

approximately December 1, 2014 and December 25, 2021, where TAMJONG purportedly

provided over 16 hours of PCA services to Medicaid beneficiaries. On 156 of those occasions,

TAMJONG caused D.C. Medicaid to be billed for 24 hours of services allegedly provided in one

day. D.C. Medicaid paid HHAs and Consumer Direct DC approximately $283,252.02 on

TAMJONG’s behalf for the 742 days of billing in excess of 16 hours per day. On each of the days



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for which TAMJONG purportedly worked for 16 hours, TAMJONG claimed to provide services

for at least two different beneficiaries each day and often on behalf of at least two different HHAs,

occasionally during overlapping hours. Medicaid prohibits PCAs from providing services to more

than one beneficiary at a time.

        30.     For example, from June 14, 2020 through June 20, 2020, TAMJONG caused

Medicaid to be billed $2,475.27 by HHA-2, HHA-3, and Consumer Direct DC for personal care

aide services that he purportedly provided to three beneficiaries over those seven days. The week

of billing totaled 480 units (or 120 hours) of care across seven days even though there are only 672

units (or 168 hours) in a seven-day period. The timesheets submitted by TAMJONG show

overlapping hours of service between two beneficiaries on Sunday and Saturday. Table 1

summarizes the entries from TAMJONG’s timesheets and the corresponding Medicaid data.

                                                TABLE 1

 DATE / BENEFICIARY      HOME HEALTH AGENCY      TIME IN   TIME OUT   UNITS PAID     HOURS             $ PAID
 SUNDAY 6/14/2020                                                         70          17.5         $      361.96
  B3                       Consumer Direct DC    6:00 AM   7:30 AM        38           9.5         $      191.40
                                                 3:30 PM   11:30 PM
  B4                              HHA-3          8:00 AM    4:00 PM      32              8         $     170.56
 MONDAY 6/15/2020                                                        68             17         $     350.27
  B3                       Consumer Direct DC    3:00 PM   12:00 AM      36              9         $     181.31
  B2                            HHA-2            7:00 AM    3:00 PM      32              8         $     168.96
 TUESDAY 6/16/2020                                                       68             17         $     350.27
  B3                       Consumer Direct DC    3:00 PM   12:00 AM      36              9         $     181.31
  B2                            HHA-2            7:00 AM    3:00 PM      32              8         $     168.96
 WEDNESDAY 6/17/2020                                                     68             17         $     350.27
  B3                       Consumer Direct DC    3:00 PM   12:00 AM      36              9         $     181.31
  B2                            HHA-2            7:00 AM    3:00 PM      32              8         $     168.96
 THURSDAY 6/18/2020                                                      68             17         $     350.27
  B3                       Consumer Direct DC    3:00 PM   12:00 AM      36              9         $     181.31
  B2                            HHA-2            7:00 AM    3:00 PM      32              8         $     168.96
 FRIDAY 6/19/2020                                                        68             17         $     350.27
  B3                       Consumer Direct DC    3:00 PM   12:00 AM      36              9         $     181.31
  B2                            HHA-2            7:00 AM    3:00 PM      32              8         $     168.96
 SATURDAY 6/20/2020                                                      70            17.5        $     361.96
  B3                       Consumer Direct DC    6:00 AM   7:30 AM       38             9.5        $     191.40
                                                 3:30 PM   11:30 PM
  B4                              HHA-3          8:00 AM    4:00 PM       32            8          $      170.56
 Grand Total                                                             480           120         $    2,475.27
                                                                                   * 168 hours in one week




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              C.      BILLING FOR SERVICES NOT RENDERED

       31.    On December 7, 2020, law enforcement conducted physical surveillance of

TAMJONG. At 7:00 AM, law enforcement identified two vehicles commonly used by TAMJONG

present in the driveway of his residence in Lanham, Maryland. At approximately 10:30 AM, one

of the vehicles departed the residence. The vehicle returned to the residence at approximately

12:48 PM, at which time TAMJONG exited the vehicle with a package and entered the residence.

At 3:00 PM, surveillance was terminated. Law enforcement did not observe TAMJONG leave the

residence between 12:48 PM and 3:00 PM. A Consumer Direct DC timesheet showed TAMJONG

purporting to provide personal care services to B2 between 6:00 AM and 2:00 PM that day as part

of the Services My Way program. Consumer Direct DC billed Medicaid for eight hours of PCA

services that TAMJONG purportedly provided to B2 that day.

       32.    On December 29, 2020, law enforcement conducted physical surveillance of

TAMJONG. At 7:26 AM, law enforcement arrived in the vicinity of TAMJONG’s home residence

and identified the three vehicles commonly present at the residence parked in the driveway and on

the street by the residence. At approximately 10:50 AM, one of the vehicles departed TAMJONG’s

residence. At approximately 10:53 AM, the vehicle stopped at a gas station and TAMJONG exited

the vehicle. At approximately 10:55 AM, TAMJONG returned to the vehicle and departed the gas

station. Visual on the vehicle was lost. At approximately 12:46 PM, the vehicle arrived at

TAMJONG’s home residence. TAMJONG exited the vehicle and entered the residence and

surveillance was terminated. Once again, a Consumer Direct DC timesheet showed TAMJONG

purporting to provide personal care services to B2 between 6:00 AM and 2:00 PM that day as part

of the Services My Way program. Consumer Direct DC billed Medicaid for eight hours of PCA

services that TAMJONG purportedly provided to B2 that day.




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       33.    On March 28, 2021, law enforcement conducted physical surveillance of

TAMJONG. At 7:35 AM, law enforcement identified TAMJONG’s three vehicles present at his

residence. Law enforcement retained a visual on the three vehicles, which remained at the

residence, until 2:00pm. A Consumer Direct DC timesheet showed TAMJONG purporting to

provide personal care services to B2 between 6:00 AM and 2:00 PM that day as part of the Services

My Way program. Consumer Direct DC billed Medicaid for eight hours of PCA services

purportedly that TAMJONG purportedly provided to B2 that day.

       34.    On June 21, 2021, law enforcement conducted physical surveillance of

TAMJONG. At 7:00 AM, law enforcement arrived in the vicinity of TAMJONG’s home residence

and identified the three vehicles commonly present at TAMJONG’s home residence parked in the

driveway and on the street. At approximately 9:44 AM, TAMJONG departed the residence. At

approximately 10:15 AM, TAMJONG arrived in the vicinity of B2’s residence. At approximately

10:31 AM, TAMJONG went up to the front door of B2’s residence complex. At approximately

10:37 AM, TAMJONG returned to his vehicle. At 10:46 AM, TAMJONG departed the vicinity of

B2’s residence and law enforcement lost visual on him. At approximately 11:44 AM, law

enforcement arrived back in the vicinity of TAMJONG’s residence. At approximately 1:30 PM,

TAMJONG arrived back at his residence. At 2:56 PM, all three vehicles were present at

TAMJONG’s residence. At approximately 3:00 PM, surveillance was terminated. A Consumer

Direct DC timesheet showed TAMJONG purporting to provide personal care services to B2

between 6:00 AM and 2:00 PM that day as part of the Services My Way program. Consumer Direct

DC billed Medicaid for eight hours of PCA services that TAMJONG purportedly provided to B2

that day.

       35.    On the morning of June 15, 2021, law enforcement interviewed B2. B2 told law

enforcement the following. TAMJONG is his/her current PCA and he has been his/her PCA for

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approximately four years. TAMJONG provides services seven days a week, eight hours a day.

TAMJONG comes anywhere between 7:30 AM and 8:00 AM and stays until 2:00 PM. Previously

TAMJONG would come at 3:00 PM and stay until 11:00 PM. When law enforcement inquired as

to the current whereabouts of TAMJONG, B2 told law enforcement that he/she had contacted

TAMJONG and asked him to come at 2:00 PM instead. B2 would sign the timesheets for

TAMJONG but said he/she could not tell what it said, he/she would just initial it. A Consumer

Direct DC timesheet showed TAMJONG purporting to provide personal care services to B2

between 6:00 AM and 2:00 PM that day as part of the Services My Way program. Consumer Direct

billed Medicaid for eight hours of PCA services purportedly provided by TAMJONG that day.

D.C. Medicaid issued payments totaling approximately $176,736.15 to HHA-2 and Consumer

Direct DC for PCA Services TAMJONG purportedly provided to B2 between 2017 and 2021.

       36.    On July 16, 2021, law enforcement interviewed B1. B1 told law enforcement the

following. He/she remembered having a PCA named JOSEPH for one year. B1 recognized the

known photo of TAMJONG shown to him/her by law enforcement as his/her former PCA. B1

stated that TAMJONG would provide services on Mondays, Wednesdays, and Fridays. B1 signed

blank timesheets for TAMJONG on Fridays. B1 stated that TAMJONG would not provide services

on Christmas holidays. Claims data showed TAMJONG purporting to provide PCA services to B1

almost every day between November 2015 and September 2019, including on Christmas Day in

2015, 2016, 2017, and 2018. D.C. Medicaid issued payments totaling approximately $194,851.28

to HHA-1 for PCA services TAMJONG purported to provide to B1 between 2015 and 2019.

       37.    On April 1, 2022, law enforcement interviewed B4 at his/her residence who

reported the following. B4 said that he/she has home health aides. Law enforcement showed B4 a

known photograph of TAMJONG. B4 recognized the person in the photo; he/she knew him as

JOSEPH. TAMJONG was B4’s previous home health aid from HHA-3. TAMJONG worked only

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on the weekends and stayed for eight hours each day. TAMJONG typically came around

10:00 AM but was supposed to arrive at 9:00 AM. At one point, TAMJONG disappeared; he just

stopped coming to B4’s residence. B4 notified HHA-3 and was assigned a new home health aide.

TAMJONG would bring timesheets for B4 to sign on Sundays. The timesheets were completely

blank, with no times or dates filled, and B4 would simply sign at the bottom. TAMJONG never

brought more than the current weekend timesheets to sign, and never asked him/her to sign

numerous timesheets or told him/her that he had lost timesheets and needed B4 to sign again. B4

was not aware that someone was charging his/her Medicaid fraudulently and did not receive any

money from TAMJONG.

              D.      RECEIPT OF PAYMENT FOR SERVICES NOT RENDERED

       38.    TAMJONG’s D.C. wage history report and records obtained from HHA-1 show

him earning the following wages from 2015 through the first quarter of 2021 for employment as a

PCA/PDW.




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                                                         TABLE 2

 HHA           QUARTER       2015         2016         2017          2018         2019         2020           2021        TOTAL
 HHA-1          Q1-Q4                   $ 41,127   $    41,555   $   35,594   $   33,867
                                        $ 41,127   $    41,555   $   35,594   $   33,867                                 $ 152,141
 HHA-2           Q1      $          -   $ 7,195    $         -   $    5,437   $    5,635   $    6,004     $          -
                 Q2      $          -   $ 6,426    $     5,803   $    5,623   $    5,655   $    7,735     $          -
                 Q3      $          -   $      -   $     4,240   $    5,538   $    5,655   $    7,889     $          -
                 Q4      $          -   $      -   $     7,086   $    5,538   $    5,655   $    1,560     $          -
                         $          -   $ 13,621   $    17,129   $   22,136   $   22,600   $   23,188                    $ 98,674
 HHA-3           Q1      $          -   $      -   $     2,898   $    3,172   $    3,238   $    3,280     $          -
                 Q2      $          -   $      -   $     3,124   $    2,726   $    2,784   $    2,976     $          -
                 Q3      $          -   $      -   $     3,124   $    3,180   $    3,248   $    3,556     $          -
                 Q4      $          -   $      -   $     2,455   $    2,726   $    2,784   $      888     $          -
                                                   $    11,601   $   11,804   $   12,054   $   10,700                    $ 46,159
 HHA-5           Q1      $        -     $      -   $         -   $        -   $        -   $        -     $          -
                 Q2      $    5,288     $      -   $         -   $        -   $        -   $        -     $          -
                 Q3      $   10,432     $      -   $         -   $        -   $        -   $        -     $          -
                 Q4      $    3,201     $      -   $         -   $        -   $        -   $        -     $          -
                         $   18,921                                                                                      $ 18,921
 HHA-7           Q1      $    9,246     $      -   $         -   $        -   $        -   $          -   $          -
                 Q2      $      193     $      -   $         -   $        -   $        -   $          -   $          -
                 Q3      $        -     $      -   $         -   $        -   $        -   $          -   $          -
                 Q4      $        -     $      -   $         -   $        -   $        -   $          -   $          -
                         $    9,439                                                                                  $ 9,439
 B2 (SMW)        Q1      $        -     $      -   $      -      $      -     $      -     $        -     $   12,656
                 Q2      $        -     $      -   $      -      $      -     $      -     $        -     $        -
                 Q3      $        -     $      -   $      -      $      -     $      -     $        -     $        -
                 Q4      $        -     $      -   $      -      $      -     $      -     $   11,340     $        -
                                                   $      -      $      -     $      -     $   11,340     $   12,656 $ 23,996
 B3 (SMW)        Q1      $          -   $      -   $      -      $      -     $      -     $        -     $   14,415
                 Q2      $          -   $      -   $      -      $      -     $      -     $        -     $        -
                 Q3      $          -   $      -   $      -      $      -     $      -     $   17,883     $        -
                 Q4      $          -   $      -   $      -      $      -     $      -     $   14,527     $        -
                                                   $      -      $      -     $      -     $   32,410     $   14,415 $ 46,825
 TOTAL                   $ 28,360 $ 54,748         $ 70,285      $ 69,534     $ 68,521     $   77,638     $   27,071 $ 396,155




                  E.         CONCLUSION

         39.      Based on the foregoing facts and information gathered thus far in the investigation,

I submit that there is probable cause that from in or about December 2014 through at least March

2022, TAMJONG committed Health Care Fraud, in violation of 18 U.S.C. § 1347, and Health

Care False Statements, in violation of 18 U.S.C. § 1035.




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                                                   __________________________________
                                                   Special Agent Kathleen Graham
                                                   Federal Bureau of Investigation


Subscribed and sworn telephonically pursuant to Fed. R. Crim. P. 4.1. on June 28, 2022.
                                                                    Zia M. Faruqui
                                                                    2022.06.28 20:39:55
                                                   __________________________________
                                                                    -04'00'
                                                   ZIA M. FARUQUI
                                                   UNITED STATES MAGISTRATE JUDGE




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